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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                  Plaintiffs,
                                                           Civil Action No. 25-00400 (AHA)
          v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                  Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                  Plaintiffs,
                                                           Civil Action No. 25-00402 (AHA)
          v.

  DONALD J. TRUMP, et al.,

                  Defendants.



               DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       To update Defendants’ Notices of Supplemental Authority (AVAC Doc. 51; GHC Doc. 51)

regarding Personal Services Contractor Association v. Trump (“PSCA”), No. 25-cv-469 (D.D.C.).,

attached herewith is the transcript of the Court’s oral ruling in that action on March 6, 2025.
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Dated: March 10, 2025                    Respectfully submitted,


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